Case 2:21-cv-00160-JRG Document 61 Filed 03/22/22 Page 1 of 3 PageID #: 3708




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 BLITZSAFE TEXAS, LLC,

                            Plaintiff,

                    v.                            CIVIL ACTION NO. 2:21-CV-00160-JRG

 APTIV PLC,

                            Defendant.


                                JOINT MOTION TO DISMISS

       WHEREAS, Plaintiff Blitzsafe Texas, LLC (“Blitzsafe” or “Plaintiff”) and Defendant

Aptiv PLC (“Aptiv”) have resolved Plaintiff's claims for relief against Aptiv asserted in this case.

       NOW, THEREFORE, Plaintiff and Aptiv, through their attorneys of record, request this

Court to dismiss Plaintiff’s claims for relief against Aptiv with prejudice, and with all attorneys’

fees, costs of court and expenses borne by the party incurring the same.


Dated: March 22, 2022                                Respectfully submitted,

ATTORNEYS FOR PLAINTIFF                              ATTORNEYS FOR DEFENDANT

 /s/ Peter Lambrianakos                               /s/ David G. Wille (with permission)
 Alfred R. Fabricant                                  David G. Willie
 NY Bar No. 2219392                                   State Bar No. 00785250
 Email: ffabricant@fabricantllp.com                   david.wille@bakerbotts.com
 Peter Lambrianakos                                   Jeff D. Baxter
 NY Bar No. 2894392                                   State Bar No. 24006816
 Email: plambrianakos@fabricantllp.com                jeff.baxter@bakerbotts.com
 Vincent J. Rubino, III                               Mark H. Johnson
 NY Bar No. 4557435                                   State Bar No. 24106144
 Email: vrubino@fabricantllp.com                      mark.johnson@BakerBotts.com
 Joseph M Mercadante                                  BAKER BOTTS L.L.P.
 NY Bar No. 4784930                                   2001 Ross Avenue, Suite 900
 Email: jmercadante@fabricantllp.com                  Dallas, TX 75201
 FABRICANT LLP                                        Telephone: (214) 953-6500
Case 2:21-cv-00160-JRG Document 61 Filed 03/22/22 Page 2 of 3 PageID #: 3709




411 Theodore Fremd Avenue, Suite 206 South   Facsimile: (214) 953-6503
Rye, New York 10580
Telephone: (212) 257-5797
Facsimile: (212) 257-5796

Samuel F. Baxter
Texas State Bar No. 01938000
Email: sbaxter@mckoolsmith.com
Jennifer L. Truelove
Texas State Bar No. 24012906
Email: jtruelove@mckoolsmith.com
MCKOOL SMITH, P.C.
104 E. Houston Street, Suite 300
Marshall, Texas 75670
Telephone: (903) 923-9000
Facsimile: (903) 923-9099
Case 2:21-cv-00160-JRG Document 61 Filed 03/22/22 Page 3 of 3 PageID #: 3710




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on March 22, 2022, all counsel of record who are

deemed to have consented to electronic service are being served with a copy of this document via

the Court's CM/ECF system per Local Rule CV-5(a)(3).

                                                   /s/ Peter Lambrianakos
                                                       Peter Lambrianakos




                            CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that counsel of record have met and conferred in

accordance with Local Rule CV-7(h) and this motion is jointly presented and agreed.

                                                   /s/ Peter Lambrianakos
                                                       Peter Lambrianakos
